     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 1 of 30



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14
                            IN THE UNITED STATES DISTRICT COURT
15
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
16
                                  SAN FRANCISCO DIVISION
17

18
     THE PEOPLE OF THE STATE OF                     Case No. 3:16-CV-03620
19   CALIFORNIA,
                                                   SECOND PARTIAL CONSENT
20                                      Plaintiff, DECREE
21                   v.
22   VOLKSWAGEN AG; VOLKSWAGEN
     GROUP OF AMERICA, INC.;
23   VOLKSWAGEN GROUP OF AMERICA
     CHATTANOOGA OPERATIONS LLC;
24   AUDI AG; DR. ING. H.C. F. PORSCHE AG;
     and PORSCHE CARS NORTH AMERICA,
25   INC.,
26                                    Defendants.
27

28
                                               1
     3:16-CV-03620                                         SECOND PARTIAL CONSENT DECREE
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 2 of 30



 1           WHEREAS, Plaintiff the People of the State of California (“the People”) acting by and
 2   through Kamala D. Harris, Attorney General of the State of California (“the California Attorney
 3
     General”) and the California Air Resources Board (“CARB”) (collectively “California”) filed a
 4
     complaint (the “California Complaint”) in this action on June 27, 2016, against Volkswagen AG,
 5
     Volkswagen Group of America, Inc., Volkswagen Group of America Chattanooga Operations
 6

 7   LLC, and Audi AG (collectively, “Volkswagen” or the “Volkswagen Parties”), and Dr. Ing. h.c.

 8   F. Porsche AG and Porsche Cars North America, Inc. (together “Porsche” or the “Porsche

 9   Parties”) (Volkswagen and Porsche together, “Defendants”), alleging in relevant part that
10
     Volkswagen and Porsche violated California Health and Safety Code sections 43016, 43017,
11
     43151, 43152, 43153, 43205, 43211, and 43212; California Code of Regulations Title 13,
12
     sections 1903, 1961, 1961.2, 1965, 1968.2, and 2037, and the 40 C.F.R sections incorporated
13
     therein by reference; California Business and Professions Code sections 17200, 17500, and
14

15   17580.5; California Civil Code section 3494; and 12 USC § 5536 et seq. in connection with the

16   certification, marketing, distribution and sale of certain Volkswagen, Audi and Porsche diesel
17   vehicles (the “California Claims”).
18
             WHEREAS, the California Claims have been partially resolved through: (1) the entry of
19
     the partial consent decree between the California Attorney General and Defendants (the “First
20
     California Partial Consent Decree”) on September 1, 2016; and (2) the entry of the partial consent
21

22   decree among the United States, California, and the Volkswagen Parties (the “First Partial

23   Consent Decree”), concerning 2.0 Liter Subject Vehicles, on October 25, 2016.

24           WHEREAS, Defendants and the People (together the “Parties”) have agreed to resolve
25   certain remaining aspects of the California Claims related to 3.0 Liter Subject Vehicles without
26
     the need for litigation.
27
             WHEREAS, this further partial resolution of California Claims is documented: (1) in part
28
                                                     2
     3:16-CV-03620                                                SECOND PARTIAL CONSENT DECREE
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 3 of 30



 1   through the second partial consent decree among the United States, California and Defendants
 2   lodged concurrently herewith (the “Second Partial Consent Decree”), which provides relief to
 3
     California in the form of environmental mitigation trust funds, and which addresses other
 4
     environmental issues including vehicle recall; and (2) in part through this Partial Consent Decree
 5
     (the “Second California Partial Consent Decree”), which provides further Zero Emission Vehicle
 6

 7   (“ZEV”) relief in California that is intended to address the adverse environmental impacts that

 8   California alleges resulted from Defendants’ conduct.

 9          WHEREAS, California leads the nation in ZEV technology, and it has worked to increase
10   the number of ZEVs in use in the state in order to reduce and offset mobile source emissions and
11
     in an effort to find long-term solutions to California’s unique air quality challenges.
12
            WHEREAS, Volkswagen is committed to supporting the growth of the market for ZEVs
13
     in California, including through the introduction of new Volkswagen ZEVs and the strengthening
14

15   of infrastructure for ZEVs in California and throughout the United States, as demonstrated by the

16   $2 billion ZEV investment provided for under the First Partial Consent Decree.

17          WHEREAS, except as expressly provided in this Second California Partial Consent
18
     Decree (which is referred to herein as the “Consent Decree”), nothing in this Consent Decree
19
     shall constitute an admission of any fact or law by any Party, including as to any factual or legal
20
     assertion set forth in the California Complaint, except for the purpose of enforcing the terms or
21

22   conditions set forth herein.

23          WHEREAS, the Parties recognize, and the Court by entering this Consent Decree finds,

24   that this Consent Decree has been negotiated by the Parties in good faith and will avoid litigation
25   among the Parties regarding the California Claims, and that this Consent Decree is fair,
26
     reasonable, and in the public interest.
27
            AND WHEREAS, various settlement documents have been filed in this Multidistrict
28
                                                       3
     3:16-CV-03620                                                  SECOND PARTIAL CONSENT DECREE
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 4 of 30



 1   Litigation (“MDL”) proceeding along with this Second California Partial Consent Decree,
 2   including the Second Partial Consent Decree, and this California Partial Consent Decree will not
 3
     become effective unless and until the Second Partial Consent Decree is also entered by the Court.
 4
            NOW, THEREFORE, before the taking of any testimony, without the adjudication of
 5
     any issue of fact or law, and with the consent of the Parties, IT IS HEREBY ADJUDGED,
 6

 7   ORDERED, AND DECREED as follows:

 8                               I.      JURISDICTION AND VENUE

 9                   1.    The Court has jurisdiction over the subject matter of this action, pursuant to
10     28 U.S.C. §§ 1331 and 1355, and over the Parties to the extent limited by this paragraph.
11
       Venue lies in this District pursuant to 28 U.S.C. § 1407 and the MDL Panel’s Transfer Order,
12
       dated December 8, 2015, and filed in this MDL action as Dkt. # 1. The Court has
13
       supplemental jurisdiction over California’s state law claims pursuant to 28 U.S.C. § 1367.
14

15     Volkswagen and Porsche consent to the Court’s jurisdiction over entry of this Consent Decree

16     and over any action against Volkswagen or Porsche to enforce this Consent Decree, and

17     consent to venue in this judicial district for such purposes. Volkswagen and Porsche reserve
18     the right to challenge and oppose any claims to jurisdiction by California that do not arise from
19
       the Court’s jurisdiction over this Consent Decree or an action to enforce this Consent Decree.
20
                     2.     Solely for purposes of this Consent Decree, without admission of any legal
21
       or factual assertion set forth in the California Complaint, and without prejudice to their ability
22

23     to contest the legal sufficiency or merits of a complaint in any other proceeding, Volkswagen

24     and Porsche do not contest that the California Complaint states claims upon which relief may

25     be granted pursuant to: California Health and Safety Code sections 43016, 43017, 43151,
26
       43152, 43153, 43205, 43211, and 43212; California Code of Regulations Title 13, sections
27
       1903, 1961, 1961.2, 1965, 1968.2, and 2037, and the 40 C.F.R. provisions incorporated therein
28
                                                      4
     3:16-CV-03620                                                  SECOND PARTIAL CONSENT DECREE
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 5 of 30



 1     by reference; California Business and Professions Code Sections 17200, 17500, and 17580.5;
 2     California Civil Code section 3494; and 12 USC § 5536 et seq.
 3
                                       II.     APPLICABILITY
 4
                     3.    The obligations of this Consent Decree apply to and are binding upon
 5
       California, and upon Volkswagen and Porsche, as applicable, and any of their respective
 6
       successors, assigns, or other entities or persons otherwise bound by law.
 7

 8                   4.    In the event of the insolvency of any Volkswagen Party or the failure by

 9     any Volkswagen Party to implement any requirement of this Consent Decree, the remaining
10     Volkswagen Parties that are parties to this Consent Decree shall complete all such
11
       requirements.
12
                     5.    In the event of the insolvency of any Porsche Party or the failure by any
13
       Porsche Party to implement any requirement of this Consent Decree, the remaining Porsche
14

15     Parties that are parties to this Consent Decree shall complete all such requirements.

16                   6.    Volkswagen shall include an agreement to remain responsible for the

17     performance obligations hereunder in the terms of any sale, acquisition, merger or other
18     transaction changing the ownership or control of Volkswagen, and no change in the ownership
19
       or control of Volkswagen shall affect the obligations hereunder of Volkswagen without the
20
       written agreement of the California Attorney General and CARB or modification of this
21
       Consent Decree.
22

23                   7.    Porsche shall include an agreement to remain responsible for the

24     performance obligations hereunder in the terms of any sale, acquisition, merger or other

25     transaction changing the ownership or control of Porsche, and no change in the ownership or
26
       control of Porsche shall affect the obligations hereunder of Porsche without the written
27
       agreement of the California Attorney General and CARB or modification of this Consent
28
                                                     5
     3:16-CV-03620                                                SECOND PARTIAL CONSENT DECREE
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 6 of 30



 1     Decree.
 2                   8.     In any action to enforce this Consent Decree, Volkswagen and Porsche
 3
       shall not raise as a defense the failure by any of their respective officers, directors, employees,
 4
       agents, or contractors to take any actions necessary to comply with the provisions of this
 5
       Consent Decree.
 6

 7                                       III.       DEFINITIONS

 8                   9.     For purposes of this Consent Decree:

 9          “3.0 Liter Subject Vehicles” means each and every model year 2009 to 2016 light duty
10   diesel vehicle equipped with a 3.0 liter TDI engine that Volkswagen or Porsche sold, leased or
11
     offered for sale or lease in, introduced or delivered for introduction into commerce, or imported
12
     into the United States or its Territories, and that is or was purported to have been covered by the
13
     following EPA Test Groups:
14

15   Model Year EPA Test Group(s)               Vehicle Make and Model(s)       Generation
     2009             9ADXT03.03LD              VW Touareg, Audi Q7             1.1
16
     2010             AADXT03.03LD              VW Touareg, Audi Q7             1.1
17
     2011             BADXT03.02UG              VW Touareg, Audi Q7             1.2
18
                      BADXT03.03UG
19   2012             CADXT03.02UG              VW Touareg                      1.2
20                    CADXT03.03UG              Audi Q7
21   2013             DADXT03.02UG              VW Touareg                      2.1 SUV

22                    DADXT03.03UG              Audi Q7
                      DPRXT03.0CDD              Porsche Cayenne Diesel
23
     2014             EADXT03.02UG              VW Touareg                      2.1 SUV
24
                      EADXT03.03UG              Audi Q7
25
                      EPRXT03.0CDD              Porsche Cayenne Diesel
26   2014             EADXJ03.04UG              Audi: A6 quattro, A7 quattro,   2 PC
27                                              A8, A8L, Q5
28
                                                          6
     3:16-CV-03620                                                   SECOND PARTIAL CONSENT DECREE
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 7 of 30



 1   2015            FVGAT03.0NU3            Audi: Q7, A6 quattro, A7          2.1 SUV
 2                                           quattro, A8, A8L, Q5

 3   2015            FVGAT03.0NU2            VW Touareg                        2.2 SUV
                     FPRXT03.0CDD            Porsche Cayenne Diesel
 4
     2015            FVGAJ03.0NU4            Audi: A6 quattro, A7 quattro,     2 PC
 5
                                             A8, A8L, Q5
 6
     2016            GVGAT03.0NU2            VW Touareg                        2.2 SUV
 7                   GPRXT03.0CDD            Porsche Cayenne Diesel
     2016            GVGAJ03.0NU4            Audi: A6 quattro, A7 quattro,     2 PC
 8                                           A8, A8L, Q5

 9
            IV.      ZERO EMISSION VEHICLE-RELATED RELIEF IN CALIFORNIA
10
                  10.      Volkswagen shall complete two Green City initiatives in California as part
11
       of the ZEV investments required by Appendix C to the First Partial Consent Decree. The
12

13     Green City initiatives may include, but need not be limited to, the operation of ZEV car

14     sharing services, zero emission transit applications, and zero emission freight transport
15     projects. The first Green City initiative shall consist of the project currently under
16
       development as part of the California ZEV Investment Plan provided for in the First Partial
17
       Consent Decree. The second of the two Green City initiatives shall be implemented in a city
18
       with a population of approximately 500,000 that predominately consists of Disadvantaged
19

20     Communities as identified by the California Office of Environmental Health Hazard

21     Assessment’s CalEnviroScreen mapping tool. Volkswagen may receive credit toward its ZEV

22     investment requirements under the First Partial Consent Decree for Creditable Costs associated
23     with these two initiatives, subject to the requirements and limitations imposed by the First
24
       Partial Consent Decree.
25
                  11.      Defendants shall contribute to the increased availability of Zero Emission
26
       Vehicles in California by introducing three additional Battery Electric Vehicle (“BEV”)
27

28     models in California as follows:
                                                      7
     3:16-CV-03620                                                  SECOND PARTIAL CONSENT DECREE
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 8 of 30



 1                                a. Defendants shall offer and sell two additional BEV models in
 2                   California, including one BEV Sport Utility Vehicle (“SUV”), in or before
 3
                     2019. For the avoidance of doubt, this means that Defendants must offer no fewer
 4
                     than three BEVs (the two additional BEVs, plus Volkswagen’s existing e-Golf
 5
                     BEV or its BEV successor), including one SUV BEV, in California in or before
 6

 7                   2019.

 8                                b. Defendants shall offer and sell an additional BEV SUV model in

 9                   California in or before 2020. For the avoidance of doubt, this means that
10
                     Defendants must offer no fewer than three BEVs (the two additional BEVs
11
                     described in paragraph 11(a), plus the third additional BEV described in this
12
                     paragraph), including two SUV BEVs, in California in or before 2020.
13
                                  c. Defendants shall offer and sell these three additional BEV models
14

15                   (or their successors) in California through 2025, and they shall sell an average of

16                   5,000 of these three additional BEV models (collectively) in California each year

17                   from 2019 until 2025. For the avoidance of doubt, this means that Defendants are
18
                     required to sell 35,000 total units of the three additional BEV models (or their
19
                     successors) during the seven-year period 2019 to 2025, but that they are not
20
                     required to sell 5,000 units in any given year.
21

22                                d. It is the intention of the parties that the requirements of this section

23                   will result in an increased availability of ZEVs in California. For that reason: (i)

24                   Defendants shall not sell ZEV credits resulting from their sale in California of these
25                   three additional models; and (ii) Volkswagen shall continue to offer its existing
26
                     BEV model (the VW e-Golf BEV) or its successor or replacement models in
27
                     California until 2019. In the event that Volkswagen introduces a new BEV model
28
                                                        8
     3:16-CV-03620                                                     SECOND PARTIAL CONSENT DECREE
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 9 of 30



 1                   in the United States between 2020 and 2025, it agrees to offer that BEV model (or
 2                   its successor) in California until at least 2025.
 3
                                  e. If prevailing market conditionsincluding, but not limited to, the
 4
                     price of gasoline, overall vehicle sales, and sales of premium, ZEV, and sport
 5

 6                   utility vehiclesmaterially change in a manner that adversely affects the market in

 7                   California for ZEVs, and that materially impairs the ability of Defendants to meet

 8                   their obligation to sell a combined total of 35,000 units (i.e., a 5,000-unit annual
 9                   average) of those three additional ZEV models (collectively) in California during
10
                     the period 2019 through 2025, California agrees to meet with Defendants in good
11
                     faith to negotiate a reduction in this sales requirement. If Defendants and
12
                     California fail to reach agreement concerning a requested reduction, Defendants
13

14                   may petition the Court for such a reduction, and California may oppose the

15                   petition. The Court’s determination as to whether a reduction is appropriate and, if

16                   so, the amount of the reduction shall be binding upon the Parties. Notwithstanding
17
                     the foregoing, the State of California’s failure to offer a rebate, tax credit, or similar
18
                     incentive for the purchase of ZEVs shall not relieve Defendants of their obligations
19
                     under this paragraph, except that, for each year in which no such rebate, tax credit,
20
                     or similar incentive is offered, Defendants’ obligation to sell an annual average of
21

22                   5,000 vehicles per year under paragraph 11(c) shall be reduced by 50% (i.e., the

23                   total sales obligation for the seven-year-period shall be reduced by a number of
24                   vehicles equal to 50% of one seventh of 35,000 vehicles).
25
                 12.         Volkswagen shall further contribute to the availability of Zero Emission
26
       Vehicles in California by making a payment of $25,000,000 to ARB no later than July 1,
27
       2017. Such payment shall be used, in the discretion of ARB, to support the ZEV-related
28
                                                         9
     3:16-CV-03620                                                       SECOND PARTIAL CONSENT DECREE
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 10 of 30



 1     aspects of the EFMP Plus Up program, or the ZEV-related aspects of similar vehicle
 2     replacement programs, in California in FY 2017-2018 or later years.
 3
                 13.         Defendants shall, within six months of the entry of this Consent Decree,
 4
       and every year thereafter until it has completed its obligations under this Consent Decree,
 5
       provide CARB and the California Attorney General with a written report regarding their
 6

 7     compliance with the requirements of this Section IV. Defendants shall also provide CARB

 8     and the California Attorney General with any documents or information, including but not

 9     limited to information related to vehicle sales, that they may reasonably request in order to
10     evaluate whether Defendants have complied with the requirements of this Section IV.
11
                 14.         Nothing in this Consent Decree alters the requirements of federal or state
12
       law to the extent they offer greater protection to consumers or to the environment.
13
                 15.         Payments required to be made pursuant this Consent Decree shall be made
14

15     via wire transfer to CARB pursuant to instructions to be provided by CARB.

16              V.          EFFECT OF SETTLEMENT/RESERVATION OF RIGHTS
17                    16.    Satisfaction of all the requirements of this Consent Decree, and of the
18       Second Partial Consent Decree, shall resolve and settle all of California’s civil claims in the
19
         California Complaint for injunctive relief, based on facts that were disclosed by Defendants
20
         to EPA and CARB prior to October 24, 2016, relating to any defeat devices or auxiliary
21
         emission control devices (“AECDs”) in the 3.0 Liter Subject Vehicles, that they made or
22

23       could have made against Defendants:

24                                a. requiring Defendants to take action to buy back, recall, or modify

25                   the 3.0 Liter Subject Vehicles in order to remedy the violations alleged in the
26
                     California Complaint concerning the 3.0 Liter Subject Vehicles;
27
                                  b. requiring Defendants to make payments to owners and lessees of
28
                                                       10
     3:16-CV-03620                                                   SECOND PARTIAL CONSENT DECREE
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 11 of 30



 1                   the 3.0 Liter Subject Vehicles in order to remedy the violations alleged in the
 2                   California Complaints concerning the 3.0 Liter Subject Vehicles; and
 3
                                   c. requiring Defendants to mitigate the environmental harm associated
 4
                     with the violations alleged in the California Complaint concerning the 3.0 Liter
 5
                     Subject Vehicles.
 6

 7                    17.      California reserves, and this Consent Decree is without prejudice to, all

 8       claims, rights, and remedies against Defendants with respect to all matters not expressly

 9       resolved in Paragraph 16. Notwithstanding any other provision of this Decree, California
10
         reserves all claims, rights, and remedies against Defendants with respect to:
11
                                   a. An order requiring Defendants to take all actions necessary to
12
                     enjoin, prevent, and deter future violations of the Health and Safety Code and
13
                     related regulations of the types alleged in the California Complaint related to the
14

15                   3.0 Liter Subject Vehicles;

16                                 b. Further injunctive relief, including prohibitory and mandatory

17                   injunctive provisions intended to enjoin, prevent, and deter future misconduct,
18
                     and/or incentivize its detection, disclosure, and/or prosecution; or to enjoin false
19
                     advertising, violation of environmental laws, the making of false statements, or the
20
                     use or employment of any practice that constitutes unfair competition;
21

22                                 c. All rights to address noncompliance with Appendix B to the Second

23                   Partial Consent Decree as set forth in Paragraph 8.1, therein;

24                                 d. All rights reserved by Paragraph 53 of the Second Partial Consent
25                   Decree;
26
                                   e. Civil penalties with respect to the 3.0 Liter Subject Vehicles, but
27
                     only to the exent not previously resolved in the First California Partial Consent
28
                                                         11
     3:16-CV-03620                                                    SECOND PARTIAL CONSENT DECREE
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 12 of 30



 1                   Decree;
 2                                 f. Any and all civil claims related to any 2.0 Liter Subject Vehicle,
 3
                     but only to the extent not previously resolved under the First Partial Consent
 4
                     Decree or the First California Partial Consent Decree, or to any vehicle other than
 5
                     the 3.0 Liter Subject Vehicles;
 6

 7                                 g. Any and all civil claims and administrative authorities for

 8                   injunctive relief (i) based on facts that were not disclosed by Defendants to EPA

 9                   and CARB prior to October 24, 2016, related to any defeat devices or AECDs
10
                     installed on or in the 3.0 Liter Subject Vehicles; or (ii) related to any other failures
11
                     by the 3.0 Liter Subject Vehicles to conform with the California Health and Safety
12
                     Code or its implementing regulations;
13
                                   h. Any criminal liability;
14

15                                 i. Any part of any claims for the violation of securities laws;

16                                 j. Costs and attorneys’ fees, including investigative costs, incurred

17                   after the date of lodging;
18
                                   k. California Attorney General Claims for relief to consumers,
19
                     including claims for restitution, refunds, rescission, damages, and disgorgement,
20
                     but only to the extent not previously resolved under the First Partial Consent
21

22                   Decree or First California Partial Consent Decree; and

23                                 l. Any other claim(s) of any officer or agency of the State of

24                   California, other than CARB or the California Attorney General.
25                   18.       This Consent Decree, including the release set forth in paragraph 16, does
26
       not modify, abrogate or otherwise limit the injunctive and other relief to be provided by
27
       Defendants under, nor any obligation of any party or person under, the First Partial Consent
28
                                                        12
     3:16-CV-03620                                                     SECOND PARTIAL CONSENT DECREE
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 13 of 30



 1     Decree, the First California Partial Consent Decree, or the Second Partial Consent Decree.
 2                   19.   By entering into this Consent Decree, California is not enforcing the laws
 3
       of other countries, including the emissions laws or regulations of any jurisdiction outside the
 4
       United States. Nothing in this Consent Decree is intended to apply to, or affect, Volkswagen’s
 5
       or Porsche’s obligations under the laws or regulations of any jurisdiction outside the United
 6

 7     States. At the same time, the laws and regulations of other countries shall not affect

 8     Volkswagen’s or Porsche’s obligations under this Consent Decree.

 9                   20.   This Consent Decree shall not be construed to limit the rights of California
10     to obtain penalties or injunctive relief, except as specifically provided in paragraph 16.
11
       California further reserves all legal and equitable remedies to address any imminent and
12
       substantial endangerment to the public health or welfare or the environment arising at any of
13
       Volkswagen’s or Porsche’s facilities, or posed by Defendants’ 3.0 Liter Subject Vehicles,
14

15     whether related to the violations addressed in this Consent Decree or otherwise.

16                   21.   In any subsequent judicial proceeding initiated by California for injunctive

17     relief, civil penalties, or other relief, Volkswagen and Porsche shall not assert, and may not
18
       maintain, any defense or claim based upon the principles of waiver, res judicata, collateral
19
       estoppel, issue preclusion, claim preclusion, claim-splitting, or other defenses based upon any
20
       contention that the claims raised by California in the subsequent proceeding were or should
21

22     have been brought in the instant case, except with respect to the claims that have been

23     specifically released pursuant to paragraph 16.

24                   22.   This Consent Decree is not a permit, or a modification of any permit, under
25     any federal, State, or local laws or regulations. Volkswagen and Porsche are each responsible
26
       for achieving and maintaining complete compliance with all applicable federal, State, and local
27
       laws, regulations, and permits; and Volkswagen’s or Porsche’s compliance with this Consent
28
                                                     13
     3:16-CV-03620                                                 SECOND PARTIAL CONSENT DECREE
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 14 of 30



 1     Decree shall be no defense to any action commenced pursuant to any such laws, regulations, or
 2     permits, except as set forth herein. California does not, by its consent to the entry of this
 3
       Consent Decree, warrant or aver in any manner that Volkswagen’s or Porsche’s compliance
 4
       with any aspect of this Consent Decree will result in compliance with provisions of the Clean
 5
       Air Act, or with any other provisions of United States, State, or local laws, regulations, or
 6

 7     permits.

 8                   23.    Nothing in this Consent Decree releases any private rights of action

 9     asserted by entities or persons not releasing claims under this Consent Decree, nor does this
10
       Consent Decree limit any defense available to Volkswagen or Porsche in any such action.
11
                     24.    This Consent Decree does not limit or affect the rights of Volkswagen or
12
       Porsche or of California against any third parties, not party to this Consent Decree, nor does it
13
       limit the rights of third parties, not party to this Consent Decree, against Volkswagen or
14

15     Porsche, except as otherwise provided by law.

16                   25.    This Consent Decree shall not be construed to create rights in, or grant any

17     cause of action to, any third party not party to this Consent Decree. No third party shall be
18
       entitled to enforce any aspect of this Consent Decree or claim any legal or equitable injury for
19
       a violation of this Consent Decree.
20
                     26.    Nothing in this Consent Decree shall be construed as a waiver or limitation
21
       of any defense or cause of action otherwise available to Volkswagen or Porsche in any action.
22

23     This Agreement is made without trial or adjudication of any issue of fact or law or finding of

24     liability of any kind.
25                                           VI.     NOTICES
26
               27. Except as specified elsewhere in this Consent Decree, whenever any notification,
27
       or other communication is required by this Consent Decree, or whenever any communication
28
                                                      14
     3:16-CV-03620                                                  SECOND PARTIAL CONSENT DECREE
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 15 of 30



 1     is required in any action or proceeding related to or bearing upon this Consent Decree or the
 2     rights or obligations thereunder, it shall be made in writing (except that if any attachment is
 3
       voluminous, it shall be provided on a disk, hard drive, or other equivalent successor
 4
       technology), and shall be addressed as follows:
 5
           As to the California Attorney General:         Senior Assistant Attorney General
 6                                                        Consumer Law Section
 7                                                        California Department of Justice
                                                          455 Golden Gate Ave., Suite 11000
 8                                                        San Francisco, CA 94102-7004

 9
           As to the California Air Resources Board:      Chief Counsel
10
                                                          California Air Resources Board
11                                                        1001 "I" Street
                                                          Sacramento, CA 95814
12

13         As to Volkswagen AG:                           Volkswagen AG
                                                          Berliner Ring 2
14
                                                          38440 Wolfsburg, Germany
15                                                        Attention: Company Secretary

16                                                        With copies to each of the following:
17                                                        Volkswagen AG
                                                          Berliner Ring 2
18
                                                          38440 Wolfsburg, Germany
19                                                        Attention: Group General Counsel

20                                                        Volkswagen Group of
                                                          America, Inc.
21                                                        2200 Ferdinand Porsche Dr.
22                                                        Herndon, VA 20171
                                                          Attention: U.S. General Counsel
23

24         As to Audi AG:                                 Audi AG
                                                          Auto-Union-Straße 1
25                                                        85045 Ingolstadt, Germany
26                                                        Attention: Company Secretary

27                                                        With copies to each of the following:

28                                                        Volkswagen AG
                                                     15
     3:16-CV-03620                                                 SECOND PARTIAL CONSENT DECREE
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 16 of 30



 1                                                  Berliner Ring 2
                                                    38440 Wolfsburg, Germany
 2                                                  Attention: Group General Counsel
 3

 4                                                  Volkswagen Group of
                                                    America, Inc.
 5                                                  2200 Ferdinand Porsche Dr.
                                                    Herndon, VA 20171
 6                                                  Attention: U.S. General Counsel
 7
           As to Volkswagen Group of
 8         America, Inc.:                           Volkswagen Group of
                                                    America, Inc.
 9                                                  2200 Ferdinand Porsche Dr.
                                                    Herndon, VA 20171
10
                                                    Attention: Company Secretary
11
                                                    With copies to each of the following:
12
                                                    Volkswagen Group of
13                                                  America, Inc.
                                                    2200 Ferdinand Porsche Dr.
14
                                                    Herndon, VA 20171
15                                                  Attention: President

16                                                  Volkswagen Group of
                                                    America, Inc.
17                                                  2200 Ferdinand Porsche Dr.
                                                    Herndon, VA 20171
18
                                                    Attention: U.S. General Counsel
19
           As to Volkswagen Group of America
20         Chattanooga Operations LLC:              Volkswagen Group of America
                                                    Chattanooga Operations LLC
21                                                  8001 Volkswagen Dr.
22                                                  Chattanooga, TN 37416
                                                    Attention: Company Secretary
23
                                                    With copies to each of the following:
24
                                                    Volkswagen Group of
25                                                  America, Inc.
26                                                  2200 Ferdinand Porsche Dr.
                                                    Herndon, VA 20171
27                                                  Attention: President

28                                                  Volkswagen Group of
                                               16
     3:16-CV-03620                                          SECOND PARTIAL CONSENT DECREE
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 17 of 30



 1                                                        America, Inc.
                                                          2200 Ferdinand Porsche Dr.
 2                                                        Herndon, VA 20171
 3                                                        Attention: U.S. General Counsel

 4
           As to Dr. Ing. h.c. F. Porsche AG:             Dr.Ing.h.c. F. Porsche Aktiengesellschaft
 5                                                        Porscheplatz 1, D-70435 Stuttgart
                                                          Attention:
 6                                                        GR/ Rechtsabteilung/ General Counsel
 7

 8         As to Porsche Cars North America, Inc.:        Porsche Cars North America, Inc.
                                                          1 Porsche Dr.
 9                                                        Atlanta, GA 30354
                                                          Attention: Secretary
10                                                        With copy by email to offsecy@porsche.us
11
           As to one or more of the Volkswagen
12         Parties:                                       Robert J. Giuffra, Jr.
                                                          Sharon L. Nelles
13                                                        Sullivan & Cromwell LLP
                                                          125 Broad Street
14
                                                          New York, New York 10004
15
           As to one or more of the Porsche
16         Parties:                                       Granta Y. Nakayama
                                                          Joseph A. Eisert
17                                                        King & Spalding LLP
                                                          1700 Pennsylvania Ave., N.W., Suite 200
18
                                                          Washington, DC 20006
19
              28. Any party may, by written notice to the other parties, change its designated notice
20
       recipient or notice address provided above.
21

22                                 VII.    RETENTION OF JURISDICTION

23                   29.   The Court shall retain jurisdiction over this case until termination of this

24     Consent Decree, for the purpose of resolving disputes arising under this Consent Decree or

25     entering orders modifying this Consent Decree, or effectuating or enforcing compliance with
26
       the terms of this Consent Decree.
27

28
                                                     17
     3:16-CV-03620                                                 SECOND PARTIAL CONSENT DECREE
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 18 of 30



 1                                      VIII. SIGNATORIES/SERVICE
 2                   30.   Each undersigned representative of Volkswagen, Porsche, and California
 3
       certifies that he or she is fully authorized to enter into the terms and conditions of this Consent
 4
       Decree and to execute and legally bind the Party he or she represents to this document. The
 5
       California Attorney General and CARB represent that they have the authority to execute this
 6
       Consent Decree on behalf of the State of California and that, upon entry, this Consent Decree
 7

 8     is a binding obligation enforceable against California under applicable law.

 9            31. This Consent Decree may be signed in counterparts, and its validity shall not be
10     challenged on that basis. For purposes of this Consent Decree, a signature page that is
11
       transmitted electronically (e.g., by facsimile or e-mailed “PDF”) shall have the same effect as
12
       an original.
13
                                               IX.    INTEGRATION
14
              32. This Consent Decree constitutes the final, complete, and exclusive agreement and
15

16     understanding among the Parties with respect to the settlement embodied in this Consent

17     Decree and supersedes all prior agreements and understandings, whether oral or written,

18     concerning the settlement embodied herein, with the exception of the First California Partial
19
       Consent Decree, First Partial Consent Decree, and Second Partial Consent Decree. Other than
20
       deliverables that are subsequently submitted and approved pursuant to this Consent Decree, the
21
       Parties acknowledge that there are no documents, representations, inducements, agreements,
22
       understandings or promises that constitute any part of this Consent Decree or the settlement it
23

24     represents other than those expressly contained or referenced in this Consent Decree.

25

26                                           X.      FINAL JUDGMENT
27
              33. Upon approval and entry of this Consent Decree by the Court, this Consent
28
                                                      18
     3:16-CV-03620                                                  SECOND PARTIAL CONSENT DECREE
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 19 of 30



 1     Decree shall constitute a final judgment of the Court as to California and the Defendants. The
 2     Court finds that there is no just reason for delay and therefore enters this judgment as a final
 3
       judgment under Fed. R. Civ. P. 54 and 58.
 4

 5

 6                                         __________________________________
                                           UNITED STATES DISTRICT JUDGE
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                      19
     3:16-CV-03620                                                  SECOND PARTIAL CONSENT DECREE
Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 20 of 30
Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 21 of 30
 Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 22 of 30




     FOR VOLKSWAGEN AG:

 2



                                                ~
 3

 4   Dated:   'J>~ <.. • l   , 2016
                                           MANFRED DOESS
 5                                         VOLKSWAGEN AG
                                           P.O. Box 1849
 6
                                           D-38436 Wolfsburg, Germany
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                      22
     3: 16-CV-03620                               SECOND PARTIAL CONSENT DECREE
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 23 of 30




       FOR AUDI AG:

 2

 3

 4      Dated: 1)~. ~ ___, 2016            3.~~c
                                          BERND~S
 5                                        AUDI     ,
                                          Auto-Union-StraBe 1
 6
                                          85045 Ingolstadt, Germany
 7

 8

 9
        Dated: D~c .      , 2016
                                                      __)
10
                                          MARTIN WAGENER
11                                        AUDI AG
                                          Auto-Union-StraBe 1
12                                        85045 Ingolstadt, Germany
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                     23

        3: 16-CV-03620                           SECOND PARTIAL CONSENT DECREE
Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 24 of 30




     FOR VOLKSWAGEN GROUP OF AMERICA, INC.:
 2

 3

 4   Dated:   De.<.. \   , 2016
                                         DA YID DETWEILER
 5
                                         VOLKSWAGEN GROUP OF AMERICA,
 6                                       INC.
                                         2200 Ferdinand Porsche Drive
 7                                       Herndon, Virginia 20171

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                  24

     3: 16-CV-03620                            SECOND PARTIAL CONSENT DECREE
 Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 25 of 30




     FOR VOLKSWAGEN GROUP OF AMERICA CHATTANOOGA OPERATIONS LLC:
 2
 3
 4   Dated: l)ec_ ·   l   , 2016
                                        DAVID DETWEILER
 5
                                        VOLKSWAGEN GROUP OF AMERICA,
 6                                      INC.
                                        2200 Ferdinand Porsche Drive
 7                                      Herndon, Virginia 20171
 8
 9

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                   25
     3: I6-CV-03620                          SECOND PARTIAL CONSENT DECREE
         Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 26 of 30



     1

     2

     3

     4
          COUNSEL FOR VOLKSWA GEN AG; AUDI AG; VOLKSWAGEN GROUP OF AMERICA,
     5    INC.; And VOLKSWA GEN GROUP OF AMERICA CHATTANOOGA OPERATIONS LLC:

     6




                                               tf!.!J~-
     7

     8    Dated:   "De(.. \   , 2016

 9                                              SHARON   L.   ELLES
                                                Sullivan & Cromwell LLP
10                                              125 Broad Street
                                                New York, New York 10004
11                                              (212) 558-4000
12                                              Attorneys for Volkswagen AG; Audi AG,
                                                Volkswagen Group ofAmerica, Inc.; and
13                                              Volkswagen Group ofAmerica Chattanooga
                                                Operations LLC
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                          26
          3:16-CV-03620                               SECOND PARTIAL CONSENT DECREE
Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 27 of 30




           FOR DR. ING. h.c. F. PORSCHE AG:
      2

      3
      4    Dated: UeL, :{__, 2016
                                                     DR. Ml • AEL STEINER
      5                                              Membe       the Executive Hoard
                                                     -Re,;earch and Development-
      6                                              DR. ING. h.c. f . PORSCHE AG
                                                     AK rll:.NGESELLSCHAJ- I
      7                                              Porschestrasse 911
                                                     71287 Wcissach, Germany
      8
      9

  10
  11
  12
           Dated:    "t>e.c.. \        • 2016        114~v..~LA/ 1,Kl{':'Jl-11/
                                                                          ,{;'    J0.'t!-i i_
                                                     General Counsel &Chief Compliance Officer
  13                                                 DR. ING. h.c. F. PORSCl·II: /\G
                                                     AK TIENGESELLSCHAFT
  14                                                 Porscheplatz I
                                                     70435 Stultgart-Zuffonhausen. Germany
  15

  16
  17
  18
  19
 20
 21
 22
 23
 24
 25

 26

 27
 28
                                                27
           3: 16·CV-03620
                                                               SECONU PART IAL CONSENT DECREE
          OMSl.ll:!RARYOI 29725453 I
         Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 28 of 30




     1     FOR PORSCHE CARS NORTH AMERICA, INC.:

     2
     3

     4    Dated:     "De.<.. · ]       , 2016
     5                                               Vice President, After Sales
                                                     PORSCHE CARS NORTH AMERICA,
     6                                               INC.
                                                     1 Porsche Dr.
     7                                               Atlanta, GA 30354
     8

 9

 10
          Dated:     1:>e.c..    l     2016             ~ uA' ?t
                                                     JOS~        FOLZ
                                                     Vice President, General Counsel and
11                                                   Secretary
                                                     PORSCHE CARS NORTH AMERICA,
12                                                   INC.
                                                     1 Porsche Dr.
13                                                   Atlanta, GA 30354

14
15

16
17
18
19

20
21
22

23
24
25

26
27
28
                                                28
          3: l 6-CV-03620                                  SECOND PARTIAL CONSENT DECREE
         DMSLIBRAR YO I :2972S4S3. I
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 29 of 30




      COUNSEL FOR DR. ING. h.c. F. PORSCHE AG and PORSCHE CARS NORTH AMERJCA,
      INC.:
2

3

4
      Dated:   "De\.· 1' - -.i..__   _   ,   2016
5                                                            N1fAY . NA\'AMA
                                                         JOSEPH A. EISERT
6                                                        King & Spalding LLP
                                                         1700 Pennsylvania Ave., N.W., Suite 200
7
                                                         Washington, DC 20006
 8                                                       Telephone: (202) 737-0500
                                                         gnakayama@kslaw.com
 9                                                       jeisert@kslaw.com

10
11
                                                         Cari Dawson
12                                                       Alston & Bird LLP
                                                         One Atlantic Center
13                                                       1201 West Peachtree Street
                                                         Atlanta, Georgia 30309-3424
14                                                       cari.dawson@alston.com
15
                                                         Attorneys for Dr. Ing. h.c. F. Porsche AG
16                                                       and Porsche Cars North America, Inc.

17

18

19

20

21

22

23

24

25

26

27

28
                                                    29

       3:16-CV-03620                                             SECOND PARTIAL CONSENT DECREE
      DMSLIBRAR YO I :29732914.1
     Case 3:15-md-02672-CRB Document 3226 Filed 05/17/17 Page 30 of 30




 1     COUNSEL FOR DR. ING. h.c. F. PORSCHE AG and PORSCHE CARS NORTH AMERICA,
       INC.:
 2
 3

 4
       Dated: ~~ ·        :J        , 2016
 5                                                GRANTA Y.NAKAYAMA
                                                  JOSEPH A. EISERT
 6                                                King & Spalding LLP
 7                                                 1700 Pennsylvania Ave., N.W., Suite 200
                                                  Washington, DC 20006
 8                                                Telephone: (202) 737-0500
                                                  gnakayama@kslaw.com
 9                                                jeisert@kslaw.com
10
11
                                                  Cari Dawson
12                                                Alston & Bird LLP
                                                  One Atlantic Center
13                                                1201 West Peachtree Street
                                                  Atlanta, Georgia 30309-3424
14                                                cari.dawson@alston.com
15
                                                  Attorneys for Dr. Ing. h.c. F. Porsche AG
16                                                and Porsche Cars North America, Inc.

17
18

19
20
21
22
23
24
25
26
27
28
                                             29
        3: 16-CV-03620                                    SECOND PARTIAL CONSENT DECREE
       DMSLIBRAR YO I :29725453.1
